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                        IN THE UNITED STATES DISTRICT COURT
                      FOR THE WESTERN DISTRICT OF OKLAHO~ED


~~ fweffq4,                                                                    JAN 15 2025
                                                                 JOAN KANE, CLERK
(Enter the full name of the plaintiff.)                          U.S. DIE i i~ RT. WESTERN DIST. OKLA.
                                                                 BY_     ...
                                                                       ~-A---       - - -' DEPUTY



V.                                                     Case No. ~IV - 1-'5 ...     lPLf - J"D
                                                       (Court Clerk will insert case number)


(I)   ~ ~! &«/11 t!!/~;e;, LLC'                                                         ,
                                                   ot/4 ,t!a,t"/y 5/4✓; # J
                                                                                                I

(2)   7orva, C ~.1r:v,JIZ
(3)   e;,f'~ & 411 ~ /s&ad d                                     &m}?'l;J:3:;,oiv,,-S ,
(Enter the full name of each defendant. Attach
additional sheets as necessary.)



                     PRO SE PRISONER CML RIGHTS COlV.iPLAINT

                                          Initial Instructions

1.     You must type or legibly handwrite the Complaint, and you must answer all
questions concisely and in the proper space. Where more space is needed to answer any
question, you may attach a separate sheet.

2.    You must provide a full name for each defendant and describe where that
defendant resides or can be located.

3.     You must send the original complaint and one copy to the Clerk of the District
Court.

4.     You must pay an initial fee of $405 (including a $350 filing fee and a $55
administrative fee). The complaint will not be considered filed until the Clerk receives
the $405 fee or you are granted permission to proceed in forma pauperis.

5.     If you cannot prepay the $405 fee, you may request permission to proceed in                       \
forma pauperis in accordance with the procedures set forth in the Court's form
application to proceed informapauperis. See 28 U.S.C. § 1915; Local Civil Rule 3.3.


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         •        .If the court grants your request, the $55 administrative fee will not be
                   assessed and your total filing fee will be $350.

         •        You will be required to make an initial partial payment, which the court
                  will calculate, and then prison officials will deduct the remaining balance
                  from your prison accounts over time.

         •        These deductions will be made until the entire $3 50 filing fee is paid,
                  regardless of how the court decides your case.

7.     The Court wili review your complaint before deciding whether to authorize
service of process on the defendants. See 28 U.S.C. §§ 1915(e)(2), 1915A; 42 U.S.C. §
1997e(c)( 1). If the Court grants such permission, the Clerk will send you the necessary
instructions and forms.

8.     If you have been granted permission to proceed in forma pauperis, the United
States Marshals Service will be authorized to serve the defendants based on information
you provide. If you have not been granted permission to proceed in forma pauperis, you
will be responsible for service of a separate summons and copy of the complaint on e~ch
defendant in accordance with Rule 4 of the Federal Rules of Civil Procedure.·



                                         COMPLAINT

I.       Jurisdiction is asserted pursuant to:
          \ / 42 U.S.C. § 1983 and 28 U.S.C. § 1343(a)(3) (NOTE: these provisions
         ~rally apply to state prisoners), or                •
          _ Bivens v. Six Unknown Named Agents of Fed. Bureau of Nar~otics, 403 U.S.
         388 (1971), and 28 U.S.C. § 1331 (NOTE: these provisions generally apply to
         federal prisoners)

         If you want to assert jurisdiction under different or additional statutes, list these
below:




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II.     State :whether you are a:
       X
       _
             Convicted and sentenced state prisoner
             Convicted and sentenced federal prisoner
             Pretrial detainee
       _     Immigration detainee
       _     Civilly committed detainee
       _Other(pleaseexplain)              Was ,:;;: pte.f-l'it:;/ c/edit,',__-ee. wJeh....11ft11J
III.   Previous Federal Civil Actions or Appeals                              ~l{ved •
       List each civil action or appeal you have brought in a federal court while you were
incarcerated or detained in any facility.
        1. Prior Civil Action/Appeal No. 1
            a. Parties to previous lawsuit:

                  Plaintiff(s): _ _            .....,.._,...-4~~e
                                      _ _ _•_ , ~ 1 5 ' -      ......
                                                                 ~------------

                  Defendant(s):_-fJ
                                 ........'/e~-l+--'-/l........f!L,. . . . . __ _ _ _ _ _ _ _ _ __



            b. Court and docket number:_----.......,4.6""-f/0_<0-'---/l_-e,.....___ _ _ _ _ _ _ __

            c. Approximate date of filing: _ _              ~........L---....;...e!-=---_ _ _ _ _ _ _ __




                                         ~----------,..e_-=-------------
            d. Issues raised: - - -...........




            e. Disposition (for example: Did you win? Was the case dismissed? Was
               summary judgment entered against you? Is the case still pending? Did you
               appeal?):          4/o47
                                                      e::                                        ·. ·

                                                                     /(Z~e
                                                            '-=--------
            f. Approximate date of disposition: _ _/_t_/rv_,,_
       If there is more than one civil action or appeal, describe the additional civil actions
or appeals using this same format on a separate sheet(s).

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IV.    Parties to Current Lawsuit
       .State information about yourself and each person or company listed as a defendant
in the caption (the heading) of this complaint.
        I.        Plaintiff



                  Address:-L...=...,;..::;____,J~-----~----llc!::~.J...1-J~=...L----~1--J..~:......b......

                  Inmate No.:        7/cfCl.$/
       2.         Defendant No. 1

                  Nameandofficialposition:.          ~ }1.c
                                                        /wl'J ½tt                t-k.LiL

                  ?Zld,~j jYc?V· 'e/er- I o!L'/4ku_, 6&.~~I.
                  Place of employment and/or residence:           tf(dJ ~ ~ 2 /
                  (t)/;L) f f a}/?t2.
                  How is this person sued? ~official capacity, ( ) individual capacity, ( )
                  both

       3.         Defendant No. 2




                  Place of employment and/or residence:               J{ a )           d        ~LL
              cz<:c1 m: ~-2.
                  How is this person sued?,)<:[ official capacity, ( ) individual capacity, ( )
                  both
       If there are more than two defendants, describe the additional defendants using
this same format on a separate sheet(s).




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V.     Cause of Action
                                            Instructions

1.     Provide a short and plain statement of each claim.
       •          Describe the facts that are the basis for your claim.
       •          You can generally only sue defendants who were directly involved in
                  harming you. Describe how each defendant violated your rights, giving
                  dates and places.
       •          Explain how you were hurt and the extent of your injuries.

2.     You are not required to cite case law.
       •          Describe the constitutional or statutory rights you believe the defendant(s)
                  violated.
       •          At this stage in the proceedings, you do not need to cite or discuss any case
                  law.

3.     You are not required to attach exhibits.
       •          If you do attach exhibits, you should refer to the exhibits in the statement of
                  your claim and explain why you included them.

4.     Be aware of the requirement that you exhaust prison grievance procedures before
       filing your lawsuit.
       •          If the evidence shows that you did not fully comply with an available
                  prison grievance process prior to filing this lawsuit, the court may dismiss
                  the unexhausted claim(s) or grant judgment against you. See 42 U.S.C. §
                  1997e(a).
       •          Every claim you raise must be exhausted in the appropriate manner.

5.     Be aware ofany statute of limitations.
        •         If you are suing about events that happened in the past, your case may be
                  subject to dismissal under the statute of limitations. For example, for many
                  civil rights claims, an action must be brought within two years from the
                  date when the plaintiff knew or had reason to know of the injury that is the
                  basis for the claim.




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          6.     Do not include claims relating to your criminal conviction or to prison
                 disciplinary proceedings that resulted in loss ofgood time credits.
                 •          If a ruling in your favor "would necessarily imply the invalidity" of a
                            criminal conviction or prison disciplinary punishment affecting the time
                            served, then you cannot make these claims in a civil rights complaint unless
                            you have already had the conviction or prison disciplinary proceeding
                            invalidated, for example through a habeas proceeding.

                                                       Claims

                 List the federal right(s) that you believe have been violated, and describe what
          happened. Each alleged violation of a federal right should be listed separately as its own
          claim.

                 1.         Claim I:
                                  List the right that you believe was violated:
                                                     ~-




                            (2) - : t the defendant(s) to this claim: (If you have sued more than one
                                   defendant, specify each person or entity that is a defendant for this
                                   particular claim.)
                                 ~




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                       (2)   List the defendant(s) to this ~l~im: (If you have sued more than one
                             defendant, specify each person or entity that is a defendant for this
                             particular claim.)                                      /     /

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                       6&/4a,                &,. 11. kd. ~ a/J1d;l_M.,h~

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      n                         -                       ;~~                           ~J~
       If there are more than two claims  ~~~u     wish to assel1, describe the additional
claims using this same format on a separate sheet(s).
                                      ✓r ~ ~ ~ ?b, e,,.AefOJ✓ •
VI.    Declarations                 .   d rt€,(8ur-i/' l):M.,j} / ,itrt\!T•
       I declare under penalty of perjury that the foregoing is true and correct.



                                                       4--~-j~
                                                       Date ' /



       I further declare under penalty of perjury that I placed this complaintJn the
prison's legal mall. ~stem, with the correct postage attached, on the ~Hay of
~ ~           , 20fl!:L                            _




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